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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


GEORGE PERROT,                                   )
                                                 )      Case No. 1:18-cv-10147-DPW
       Plaintiff,                                )
                                                 )      Hon. Douglas P. Woodlock,
v.                                               )      District Judge
                                                 )
THOMAS KELLY, et al.,                            )
                                                 )
       Defendants.                               )
                                                 )
                         MOTION TO WITHDRAW AS COUNSEL
       Pursuant to Local Rule 83.5.2(c), I hereby request leave of the Court to withdraw as

counsel for Plaintiff George Perrot. Plaintiff will continue to be represented by Debra Loevy,

Gayle Horn, Mark Loevy-Reyes, Steven Art, and Tara Thompson of Loevy & Loevy.

Dated: May 2, 2019                                   Respectfully submitted,
                                                     /s/ Tony Balkissoon
                                                     Tony Balkissoon
                                                     Roderick & Solange
                                                       MacArthur Justice Center
                                                     777 6th St. NW, 11th Floor
                                                     Washington, DC 20001
                                                     (202) 869-3434
                                                     tony.balkissoon@macarthurjustice.org
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GEORGE PERROT,                                  )
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       Plaintiff,                               )
                                                )       Hon. Douglas P. Woodlock,
v.                                              )       District Judge
                                                )
THOMAS KELLY, et al.,                           )
                                                )
       Defendants.                              )
                                                )
                                CERTIFICATE OF SERVICE
       I, Tony Balkissoon, an attorney, hereby certify that on May 2, 2019, I filed the foregoing
Motion to Withdraw as Counsel using the Court’s CM/ECF system, which effected service on all
counsel of record.
                                                    /s/ Tony Balkissoon
